Case 1:21-mc-23345-FAM Document 1 Entered on FLSD Docket 09/16/2021 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT FOR
                               SOUTHERN DISTRICT OF FLORIDA


                                                   MIAMI DIVISION

                                            CASE NO.: ______________


  MICHAEL ANTHONY, individually, and on
  behalf of all others similarly situated,                           PLAINTIFF’S MOTION TO COMPEL
                                                                       ENFORCEMENT OF SUBPOENA
                     Movant,
                                                                   Related to Action Pending in the U.S. District
                     v.                                            Court of the Northern District of Illinois,
                                                                   Anthony v. The Federal Savings Bank, et ano.,
  FDE MARKETING GROUP LLC, a Florida                               1:21-cv-02509-EEC
  limited liability company,

                     Respondent.


                  MICHAEL ANTHONY’S MOTION TO COMPEL
         PRODUCTION OF DOCUMENTS FROM FDE MARKETING GROUP LLC

          Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Movant Michael Anthony

  (“Plaintiff” or “Mr. Anthony”) respectfully requests that the Court enter an Order compelling

  Respondent FDE MARKETING GROUP LLC (“FDE”) to produce the documents sought by

  Plaintiff in his subpoena (the “Subpoena”), which was properly served on FDE on August 2, 2021,

  in the underlying litigation, Anthony v. Federal Savings Bank, Inc., et al., Civil Action 21-CV-

  2509-EEC (the “Lawsuit”). This enforcement action arises out of the Lawsuit Plaintiff brought

  against Defendants: The Federal Savings Bank (“FSB”) and National Bancorp Holdings, Inc.

  (“NBH,” collectively, “Defendants”) for unsolicited and unlawful telemarketing telephone calls to

  Plaintiff’s telephone number that had been registered on the Federal Do Not Call Registry.




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Case 1:21-mc-23345-FAM Document 1 Entered on FLSD Docket 09/16/2021 Page 2 of 5




           FDE did not serve objections or respond to the Subpoena. This Court should therefore enter

  an Order compelling the production of all of the documents requested in the Subpoena. Plaintiff’s

  Motion to Compel is supported by declaration and attached exhibits and the following incorporated

  memorandum of law.

                            MEMORANDUM OF LAW
           IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL PRODUCTION
                OF DOCUMENTS FROM FDE MARKETING GROUP LLC

           Plaintiff Michael Anthony (“Plaintiff” or “Mr. Anthony”) respectfully submits this

   memorandum of law in support of Plaintiff’s motion to enforce the Subpoena, which is attached

   as Exhibit “B” to the declaration of Mark L. Javitch, ¶ 6 (“Javitch Decl.”). For the reasons stated

   below, the motion should be granted.

  I.       INTRODUCTION

           A. Parties.

           Plaintiff Mr. Michael Anthony is an individual residing in Pennsylvania. Defendant

  Federal Savings Bank (“FSB”) is a federal savings association and mortgage originator with

  headquarters in Chicago, Illinois. FSB’s parent corporation, National Bancorp Holdings, Inc., is

  also a defendant in the Lawsuit. FDE is not a party to the Lawsuit.

           B. Jurisdiction and Venue

           This Court has subject matter jurisdiction over this matter under Fed. R. Civ. P. 45 and

  the Rules Enabling Act, 28 U.S.C. § 2072. This Court has personal jurisdiction over FDE because

  FDE maintains its principal place of business in Florida and in this District. Venue is proper

  under 28 U.S.C. § 1391(b)(1) and (2) because FDE resides in this District and a substantial

  portion of the events or omissions giving rise to this matter occurred in this District.




                                                                2
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Case 1:21-mc-23345-FAM Document 1 Entered on FLSD Docket 09/16/2021 Page 3 of 5




  II.     FACTS

          A.        The Underlying Lawsuit

          Plaintiff alleges that he received at least six unsolicited telemarketing telephone calls

  from or on behalf of Defendants despite Plaintiff’s number being registered on the National Do

  Not Call Registry, in violation of 47 U.S.C. § 227(c). Defendants have claimed that FDE

  Marketing Group has information relevant to Plaintiff’s claims and Defendants’ defenses and

  counterclaim.

          B.        Subpoena

          On August 2, 2021, Plaintiff served a third-party Subpoena upon FDE for the production

  of documents relating to Plaintiff and the putative class in the Lawsuit. The Subpoena and proof

  of service on FDE is attached as Exhibit B to Javitch Decl, ¶ 6. The Subpoena requested that the

  documents be produced by August 27, 2021. Id. The Subpoena is narrowly tailored and seeks

  information relative to Plaintiff’s claims in the Litigation, including contracts with FSB, records

  of telephone calls made, and associated records of consent. FDE failed to serve objections and

  otherwise respond to the Subpoena.

          Pursuant to S.D. Fla. L.R. 7.1(a)(3), Plaintiff’s counsel certifies that he has conferred or

  made reasonable effort to confer, with all parties or non-parties who may be affected by the relief

  sought in the motion in a good faith effort to resolve the issues raised in the motion and has been

  unable to do so. [detail efforts here with citations to Javitch Decl.]

  III.    LAW & ARGUMENT

          A.        Legal Standard
          Federal Rule of Civil Procedure 26(b)(1) defines the scope of discovery as follows: “any

  nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs


                                                               3
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Case 1:21-mc-23345-FAM Document 1 Entered on FLSD Docket 09/16/2021 Page 4 of 5




  of the case, considering the importance of the issues at stake in the action, the amount in

  controversy, the parties’ relative access to relevant information, the parties’ resources, the

  importance of the discovery in resolving the issues, and whether the burden or expense of the

  proposed discovery outweighs its likely benefit. Information within this scope of discovery need

  not be admissible in evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1). Consistent with the

  spirit and purpose of the broad discovery rules, federal courts are to employ a liberal discovery

  standard. See Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 695 (S.D. Fla. 2007).

          Rule 45 permits a party to obtain relevant information in the form of documents or

  deposition testimony from a non-party through issuance of a subpoena. See Fed. R. Civ. P. 45;

  see also Datta v. Armor Correctional Health Servs., Inc., No. 8:15-cv-601-T-27TBM, 2015 WL

  12838185, at *2 (M.D. Fla. July 17, 2015) Fisher v. Marubeni Cotton Corp., 526 F.2d 1338,

  1341 (8th Cir.1975) (subpoena duces tecum is the only way to compel a nonparty to produce

  documents or other materials); Se. Mech. Serv., Inc. v. Brody, Case No. 1:09–CV–0086, 2009

  WL 3095642, at *2 (N.D. Ga. June 22, 2009) (same, and noting that Rule 45, as revised in 2006,

  also provides for the production of electronically stored information (“ESI”) by a nonparty). “[I]t

  is well settled that the scope of discovery under a subpoena is the same as discovery under Rule

  26(b).” Barrington v. Mortg. IT, Inc., No. 07-61304-CIV, 2007 WL 4370647, at *3 (S.D. Fla.

  Dec. 10, 2007).

          Rule 45 authorizes a party serving a subpoena, like Plaintiff, to “move the court for the

  district where compliance is required for an order compelling production or inspection.” Fed. R.

  Civ. P. 45(d)(2)(B)(i); see also Fed. R. Civ. P. 37(a)(1). Here, FDE should be ordered to produce

  the documents requested in the Subpoena. FDE is obligated to comply with the Subpoena. Fed.

  R. Civ. P. 45(d)(1)(A) (“A command in a subpoena to produce documents, electronically stored


                                                               4
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Case 1:21-mc-23345-FAM Document 1 Entered on FLSD Docket 09/16/2021 Page 5 of 5




  information, or tangible things requires the responding party to permit inspection, copying,

  testing, or sampling of the materials.”).

          B.        FDE Failed to Respond to the Subpoena

          As set forth above, FDE refused to provide any response to the Subpoena. On August 2,

  2021, Plaintiff caused a subpoena to be served on FDE. See Javitch Decl., ¶¶ 3–6 and Exhibit

  “B” attached thereto. The compliance date for the Subpoena was August 27, 2021. Id. Therefore,

  it is undisputed that FDE was properly served with the Subpoena requesting documents and FDE

  failed to respond by the due date. Id. at ¶ 7. Accordingly, FDE should be compelled to produce

  the documents. See Berkley Ins. Co. v. Suffolk Constr. Co., Inc., No. 19-23059-Civ-

  Williams/Torres, 2020 WL 10057924, at *1 (S.D. Fla. Oct. 30, 2020) (subpoenaed

  subcontractors failed to serve an objection or response pursuant to Rule 45, so motion to compel

  was granted).


  IV.     CONCLUSION

          For the foregoing reasons, Plaintiff respectfully requests that the Court grant Plaintiff’s

  Motion to Enforce the Subpoena, and for any other relief the Court deems just under the

  circumstances.


  DATED: September 16, 2021

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                                                               5
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